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FILED

UNITED STATES DISTRICT COURT ig OCT 30 PH 4: 12

MIDDLE DISTRICT OF FLORIDA - ccener COURT
TAMPA DIVISION bac STRICT FLORIDA
TAMPA, FLORIDA

UNITED STATES OF AMERICA

v. CASENO, 8:86 sy 33 Ee

21 U.S.C. § 841(a)(1)
ARNOLD GERARD NELSON JR.
JAMES THOMAS LANG III

INDICTMENT

 

The Grand Jury charges:
COUNT ONE

Beginning on an unknown date, but not later than on or about January
23, 2018, and continuing through the date of this indictment, in the Middle
District of Florida, the defendants,

ARNOLD GERARD NELSON JR., and
JAMES THOMAS LANG III

did knowingly, willfully, and intentionally conspire with other persons, both
known and unknown to the Grand Jury, to distribute and possess with intent
to distribute a controlled substance, which violation involved 100 grams or
more of a mixture and substance containing a detectable amount of heroin

and fentanyl, Schedule I and Schedule II controlled substances, and is .

  

therefore punished under 21 U.S.C. § 841(b)(1)(B)... Be
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All in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B).
COUNT TWO

On or about January 23, 2018, in the Middle District of Florida, and

elsewhere, the defendant,
ARNOLD GERARD NELSON JR.

did knowingly and intentionally distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
heroin and fentanyl, Schedule I and Schedule II controlled substances, and is
therefore punished under 21 U.S.C. § 841(b)(1)(C).

In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C).

COUNT THREE

On or about April 5, 2018, in the Middle District of Florida, and

elsewhere, the defendants,
ARNOLD GERARD NELSON JR., and
JAMES THOMAS LANG III

did knowingly and intentionally distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
heroin and fentanyl, Schedule I and Schedule II controlled substances, and is

therefore punished under 21 U.S.C. § 841(b)(1)(C).
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In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C), and 18 U.S.C.
§ 2.
COUNT FOUR
On or about April 19, 2018, in the Middle District of Florida, and
elsewhere, the defendants,
ARNOLD GERARD NELSON JR., and
JAMES THOMAS LANG III
did knowingly and intentionally distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
heroin and fentanyl, Schedule I and Schedule II controlled substances, and is
therefore punished under 21 U.S.C. § 841(b)(1)(C).
In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C), and 18 U.S.C.
§ 2.
COUNT FIVE
On or about May 10, 2018, in the Middle District of Florida, and
elsewhere, the defendants,
ARNOLD GERARD NELSON JR., and
JAMES THOMAS LANG II
did knowingly and intentionally distribute a controlled substance, which

violation involved a mixture and substance containing a detectable amount of
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methamphetamine, a Schedule II controlled substance, its salts, isomers, and
salts of its isomers, and is therefore punished under 21 U.S.C. § 841(6)(1)(C).
In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C), and 18 U.S.C.
§ 2.
COUNT SIX
On or about May 10, 2018, in the Middle District of Florida, and
elsewhere, the defendants,
ARNOLD GERARD NELSON JR., and
JAMES THOMAS LANG JI
did knowingly and intentionally distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
heroin, a Schedule I controlled substance, and is therefore punished under 21
U.S.C. § 841(b)(1)(B). |
In violation of 21 U.S.C. § 841(a)(1) and 841(6)(1)(Q), and 18 U.S.C.
§ 2.
COUNT SEVEN
On or about June 14, 2018, in the Middle District of Florida, and
elsewhere, the defendants,
ARNOLD GERARD NELSON JR., and

JAMES THOMAS LANG III
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did knowingly and intentionally distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
heroin, a Schedule I controlled substance, and is therefore punished under 21
U.S.C. § 841(b)(1)(C).

In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(©), and 18 U.S.C.

§ 2.
FORFEITURE

1. The allegations contained in Counts One through Seven are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 21 U.S.C. § 853.

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the
defendants shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1)
and (2), any property constituting, or derived from, any proceeds the
defendants obtained, directly or indirectly, as a result of such violation, and
any property used, or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, such violation.

3. The property to be forfeited includes, but is not limited to, an
order of forfeiture in the amount of proceeds obtained by the defendants as a

result of the offenses.
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4. If any of the property described above, as a result of any acts or

omissions of the defendants:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot
be divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853(p).

A TRUE BILL,

oreperson

MARIA CHAPA LOPEZ
United States

   

 

 

 

Tames ‘ston
Assisi { United States Attorney
ty Chief, Violent Crimes and Narcotics Section
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FORM OBD-34
October 18 No.
FILED
UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division ‘B18 OCT 30 PM 4: 12
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THE UNITED STATES OF AMERICA TAHPA, FL cng ehtBA

vs.

ARNOLD GERARD NELSON JR.
JAMES THOMAS LANG III

 

INDICTMENT

Violations: 21 U.S.C. § 841(a)(1)

 

A true bill,

Foreperson( | :

Filed in open court this 30 day
of October 2018.

 

 

Clerk

 

Bail $

 

 

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